Appellate Case: 16-4040 Document:
                     UNITED STATES01019602342 Date Filed: 04/13/2016
                                     COURT OF APPEALS                                    Page: 1
                               FOR THE TENTH CIRCUIT


                               DOCKETING STATEMENT


Case Name: The SCO Group, Inc. v. International Business Machines Corporation
Appeal No. (if available) :    _________________________________________________
Court/Agency Appeal From:        United States District Court for the District of Utah

Court/Agency Docket No.: 2:03-CV-00294-DN District Judge: Hon. David Nuffer

Party or Parties filing Notice of Appeal/Petition: The SCO Group, Inc.

I.     TIMELINESS OF APPEAL OR PETITION FOR REVIEW

       A.     APPEAL FROM DISTRICT COURT

              1.     Date notice of appeal filed: March 29, 2016

                     a.       Was a motion filed for an extension of time to file the notice
                              of appeal? If so, give the filing date of the motion, the date of
                              any order disposing of the motion, and the deadline for filing
                              notice of appeal:     No.

                     b.       Is the United States or an officer or an agency of the United
                              States a party to this appeal? No.

              2.     Authority fixing time limit for filing notice of appeal:

              Fed. R. App. 4 (a)(1)(A) X     Fed. R. App. 4(a)(6) ____
              Fed. R. App. 4 (a)(1)(B) ____  Fed. R. App. 4(b)(1) ____
              Fed. R. App. 4 (a)(2)     ____ Fed. R. App. 4(b)(3) ____
              Fed. R. App. 4 (a)(3)     ____ Fed. R. App. 4(b)(4) ____
              Fed. R. App. 4 (a)(4)    ____  Fed. R. App. 4(c)    ____
              Fed. R. App. 4 (a)(5)     ____
              Other: ________________________________
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                 3.      Date final judgment or order to be reviewed was filed and entered
                         on the district court docket: March 1, 2016

                 4.      Does the judgment or order to be reviewed dispose of all claims by
                         and against all parties? See Fed. R. Civ. P. 54(b). No.

                 (If your answer to Question 4 above is no, please answer
                 the following questions in this section.)

                         a.     If not, did district court direct entry of judgment in
                                accordance with Fed. R. Civ. P. 54(b)? When was this done?
                                Yes. March 1, 2016. Dkt. No. 1164

                         b.     If the judgment or order is not a final disposition, is it
                                appealable under 28 U.S.C. ' 1292(a)? ________________

                         c.     If none of the above applies, what is the specific statutory
                                basis for determining that the judgment or order is
                                appealable? ______________________________________

                 5.      Tolling Motions. See Fed. R. App. P. 4(a)(4)(A); 4(b)(3)(A).

                         a.     Give the filing date of any motion under Fed. R. Civ. P. 50(b),
                                52(b), 59, 60, including any motion for reconsideration, and in
                                a criminal appeal any motion for judgment of acquittal, for
                                arrest of judgment or for new trial, filed in the district court:
                                _________________________________________________

                         b.     Has an order been entered by the district court disposing of
                                any such motion, and, if so, when?_____________________
                                _________________________________________________

                 6.      Cross Appeals.

                         a.     If this is a cross appeal, what relief do you seek beyond
                                preserving the judgment below? See United Fire & Cas. Co.
                                v. Boulder Plaza Residential, LLC, 633 F.3d 951, 958 (10th
                                Cir. 2011)(addressing jurisdictional validity of conditional
                                cross appeals).
                                     ____________________________________________

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                         b.     If you do not seek relief beyond an alternative basis for
                                affirmance, what is the jurisdictional basis for your appeal?
                                See Breakthrough Mgt. Group, Inc. v. Chukchansi Gold
                                Casino and Resort, 629 F.3d 1173, 1196-98 and n. 18 (10th
                                Cir. 2010)(discussing protective or conditional cross appeals).

                                   ______________________________________________


         B.      REVIEW OF AGENCY ORDER (To be completed only in connection
                 with petitions for review or applications for enforcement filed directly with
                 the Court of Appeals.)

                 1.      Date petition for review was filed:     ________________________

                 2.      Date of the order to be reviewed: ________________________

                 3.      Specify the statute or other authority granting the court of appeals
                         jurisdiction to review the order: ___________________________
                         ______________________________________________________

                 4.      Specify the time limit for filing the petition (cite specific statutory
                         section or other authority): ________________________________
                         ______________________________________________________

         C.      APPEAL OF TAX COURT DECISION

                 1.      Date notice of appeal was filed: ___________________________
                         (If notice was filed by mail, attach proof of postmark.)

                 2.      Time limit for filing notice of appeal: ________________________

                 3.      Date of entry of decision appealed:     ________________________

                 4.      Was a timely motion to vacate or revise a decision made under the
                         Tax Court=s Rules of Practice, and if so, when? See Fed. R. App. P.
                         13(a) ______________________________________________


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 II.      LIST ALL RELATED OR PRIOR RELATED APPEALS IN THIS COURT
          WITH APPROPRIATE CITATION(S). If none, please so state.

 No related or prior related appeals in this case.

 In a separate but factually related case, The SCO Group, Inc. v. Novell, Inc., No. 2:04-
 CV-00139-TS, there were two appeals to this court:

       • No. 08-4217, in which The SCO Group, Inc. (“SCO”), as Appellant, submitted an
         appeal on March 4, 2009, from the district court’s order granting summary
         judgment in favor of Novell, Inc. On August 24, 2009, this Court affirmed the
         district court’s order in part, reversed the order in part, and remanded.

       • No. 10-4122, in which SCO, as Appellant, submitted an appeal on September 9,
         2010, from a jury verdict following a three-week trial, from the district court’s
         subsequent findings of fact and conclusions of law, and from the district court’s
         order denying SCO’s renewed motion for judgment as a matter of law or, in the
         alternative, for a new trial. On August 30, 2011, this Court affirmed.

 III.     GIVE A BRIEF DESCRIPTION OF THE NATURE OF THE PRESENT
          ACTION AND RESULT BELOW.

 This case arises out of the relationship between The SCO Group, Inc. (“SCO”) and
 International Business Machines Corporation (“IBM”) and IBM’s efforts to exploit that
 relationship to help development of a competing operating system known as Linux. SCO
 held a majority of the UNIX-on-Intel market with its UNIX operating system in 1998,
 when IBM and SCO agreed to collaborate to produce a new operating system called
 Project Monterey. IBM used this project as a pretext to gain access to SCO’s proprietary
 UNIX source code and then copied substantial portions of that code into Linux to make
 that competing operating system more usable in the marketplace. Because Linux was
 offered at no cost in the open-source community, it rapidly displaced UNIX, and SCO’s
 UNIX sales rapidly diminished. SCO publicized the alleged copyright infringement and
 other alleged wrongs committed by IBM, and IBM argued that SCO’s tactics were
 improper and in bad faith, and that it had the right to use any lines of code it added to
 Linux.

 SCO brought this action against IBM asserting, among other claims, unfair competition
 and tortious interference, and IBM asserted counterclaims. On October 14, 2004, SCO
 moved for leave to file a third amended complaint, to add a claim for IBM’s infringement

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 of SCO’s copyrights based on information discovered in internal IBM documents
 produced in March and April 2004 (Dkt. No. 322). The district court denied SCO’s
 motion in an order dated July 1, 2005 (Dkt. No. 466). Following the resolution of
 separate litigation between Novell, Inc. and SCO, SCO proposed that certain of its claims
 in this case be dismissed, leaving SCO’s unfair competition and tortious interference
 claims as its remaining live claims.

 On February 5, 2016, the district court issued an order granting IBM’s motion for
 summary judgment on SCO’s unfair competition claim (Dkt. No. 1159); and on February
 8, 2016, the district court issued an order granting IBM’s motion for summary judgment
 on SCO’s remaining tortious interference claims (Dkt. No. 1160).

 On March 1, 2016, the district court issued an order stating that because “the SCO claims
 in this case are SCO’s only asset” and because IBM’s counterclaims against SCO are “the
 only active claims in the case,” the disposition of SCO’s appeal from the district court’s
 order dismissing SCO’s claims was “the course most likely to preserve both judicial and
 private resources” (Dkt. No. 1163). The district court thus stayed all proceedings
 “pending the disposition of SCO’s appeal” (id.) and entered judgment in favor of IBM
 and dismissed SCO’s causes of action with prejudice (Dkt. No. 1164).


 IV.     ISSUES RAISED IN THIS APPEAL.

         1.      Did the district court err in granting summary judgment in IBM’s favor on
                 SCO’s unfair competition claim (Dkt. No. 1159)?

         2.      Did the district court err in granting summary judgment in IBM’s favor on
                 SCO’s tortious interference claims (Dkt. No. 1160)?

         3.      Did the district court err in denying SCO’s motion for leave to file a third
                 amended complaint to add a copyright infringement claim against IBM
                 based on recently discovered information (Dkt. No. 466)?




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 V.      ADDITIONAL INFORMATION IN CRIMINAL APPEALS.

         A.      Does this appeal involve review under 18. U.S.C. ' 3742(a) or (b) of the
                 sentence imposed? ____________________________________________

         B.      If the answer to A (immediately above) is yes, does the defendant also
                 challenge the judgment of conviction?_____________________________

         C.      Describe the sentence imposed. __________________________________
                 ____________________________________________________________

         D.      Was the sentence imposed after a plea of guilty? ____________________

         E.      If the answer to D (immediately above) is yes, did the plea agreement
                 include a waiver of appeal and/or collateral challenges?
                 ___________________________________________________________

         F.      Is defendant on probation or at liberty pending appeal? ________________

         G.      If the defendant is incarcerated, what is the anticipated release date if the
                 judgment of conviction is fully
                 executed?_____________________________________________________

         H.      Does this appeal involve the November 1, 2014 retroactive amendments to
                 §§ 2D1.1 and 2D1.11 of the U.S. Sentencing Commission’s Guideline
                 Manual, which reduced offense levels for certain drug trafficking offenses?
                 ___________________________________________________________


         NOTE:           In the event expedited review is requested and a
                         motion to that effect is filed, the defendant shall
                         consider whether a transcript of any portion of the
                         trial court proceedings is necessary for the appeal.
                          Necessary transcripts must be ordered by
                         completing and delivering the transcript order
                         form to the clerk of the district court with a copy
                         filed in the court of appeals.




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 VI.     ATTORNEY FILING DOCKETING STATEMENT:

         Name: Edward Normand                           Telephone: 914-749-8237

         Firm: Boies, Schiller & Flexner LLP

         Email Address: enormand@bsfllp.com

         Address:

         Boies, Schiller & Flexner LLP
         333 Main Street
         Armonk, NY 10504


 PLEASE IDENTIFY ON WHOSE BEHALF THE DOCKETING STATEMENT IS
 FILED:


         A.             Appellant


                        Petitioner


                        Cross-Appellant




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 B.      PLEASE IDENTIFY WHETHER THE FILING COUNSEL IS


                        Retained Attorney


                        Court-Appointed


                        Employed by a government entity
                              (please specify_________________________________)


                        Employed by the Office of the Federal Public Defender.



         /s/ Edward Normand                                  April 13, 2016
         Signature                                           Date
                Attorney at Law


 NOTE:           A copy of the final judgment or order appealed from, any
                 pertinent findings and conclusions, opinions, or orders, any
                 motion filed under Fed. R. Civ. P. 50(b), 52(b), 59, or 60,
                 including any motion for reconsideration, for judgment of
                 acquittal, for arrest of judgment, or for new trial, and the
                 dispositive order(s), any motion for extension of time to file
                 notice of appeal and the dispositive order must be submitted
                 with the Docketing Statement.

                 The Docketing Statement must be filed with the Clerk via the
                 court’s Electronic Case Filing System (ECF). Instructions and
                 information regarding ECF may be found on the court’s website,
                 www.ca10.uscourts.gov.

                 This Docketing Statement must be accompanied by proof of
                 service.

                 The following Certificate of Service may be used.



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                                CERTIFICATE OF SERVICE

        I, Edward Normand, hereby certify that on this 13th day of April, 2016, a true and
 correct copy of the foregoing DOCKETING STATEMENT was electronically filed
 with the court and forwarded via CM/ECF and electronic mail to the following recipients:

 SNELL & WILMER L.L.P.                          CRAVATH, SWAINE & MOORE LLP
 Alan L. Sullivan, Esq.                         Evan R. Chesler, Esq.
 Todd M. Shaughnessy, Esq.                      David R. Marriott, Esq.
 Amy F. Sorenson, Esq.                          Worldwide Plaza
 15 West South Temple, Suite 1200               825 Eighth Avenue
 Salt Lake City, Utah 84101-1004                New York, New York 10019
 Telephone: (801) 257-1900                      Telephone: (212) 474-1000
 Facsimile: (801) 257-1800                      Facsimile: (212) 474-3700


 Attorneys for Defendant-Appellee International Business Machines Corporation

 Dated: April 13, 2016                     /s/ Edward Normand
                                           Edward Normand



                        CERTIFICATE OF DIGITAL SUBMISSION

        The undersigned certifies with respect to this filing that no privacy redactions were
 necessary. This DOCKETING STATEMENT submitted in digital form is an exact copy
 of the written document filed with the Clerk. The digital submission has been scanned for
 viruses with the most recent version of a commercial virus scanning program (using
 Symantec Antivirus which is updated weekly) and, according to the program, is free of
 viruses.

 Dated: April 13, 2016
                                           /s/ Edward Normand
                                            Edward Normand




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